               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


AMY BRYANT, M.D.                )
                                )
               Plaintiff,       )
                                )
     v.                         )
                                )
JOSHUA H. STEIN, in his         )
official capacity as            )
Attorney General for the        )
State of North Carolina,        )
JEFF NIEMAN, in his official    )
capacity as District Attorney   )
for North Carolina 18th         )
Prosecutorial District,         )
KODY H. KINSLEY, in his         )
official capacity as the        )
North Carolina Secretary of     )            1:23-cv-77
Health and Human Services,      )
MICHAUX R. KILPATRICK, MD,      )
PHD, in her official capacity   )
as President of the North       )
Carolina Medical Board; and     )
CHRISTINE M. KHANDELWAL, DO,    )
DEVDUTTA G. SANGVAI, MD, MBA,   )
JOHN W. RUSHER, MD, JD,         )
WILLIAM M. BRAWLEY, W. HOWARD   )
HALL, MD, SHARONA Y. JOHNSON,   )
PHD, FNP-BC, JOSHUA D. MALCOLM, )
JD, MIGUEL A. PINEIRO, PA-C,    )
MHPE, MELINDA H. PRIVETTE, MD, )
JD, ANURADHA RAO-PATEL, MD      )
and ROBERT RICH, JR., MD,       )
in their official capacities    )
as members of the North         )
Carolina Medical Board,         )
                                )
               Defendants,      )
*******************************
TIMOTHY K. MOORE and            )
PHILIP E. BERGER,               )
                                )
               Movants.         )




    Case 1:23-cv-00077-CCE-LPA Document 46 Filed 03/01/23 Page 1 of 3
                                 ORDER

     Philip E. Berger, President Pro Tempore of the North

Carolina Senate, and Timothy K. Moore, Speaker of the North

Carolina House of Representatives, move to intervene on behalf

of the General Assembly and as agents of the State of North

Carolina to defend N.C. Gen. Stat. §§ 14-44, 14-45, 14- 45.1,

90-21.82, 90-21.90, and 10A N.C. Admin. Code Subchapter 14E

pursuant to Fed. R. Civ. P. 24 and LR 7.3. (Doc. 29.) Plaintiff

has filed a response to the motion and states that she does not

oppose the motion. (Doc. 44.) Plaintiff requests that

intervenors be required to file an answer or motion to dismiss

on or before March 24, 2023. (Id.) Defendant Joshua Stein, in

his official capacity as Attorney General for the State of North

Carolina, has filed a response in which he advises that “he does

not oppose intervention in this matter.” (Doc. 45.)

     In light of Plaintiff and Defendant Stein’s position that

the motion is unopposed, and Plaintiff’s request that any

response be filed by March 24, this court finds good cause to

shorten the time for the remaining defendants to respond to the

motion to intervene, (Doc. 29), if at all. See LR 7.3(f).

     IT IS THEREFORE ORDERED that any additional responses from

the remaining defendants to the motion to intervene, (Doc. 29),

shall be filed on or before Wednesday, March 8, 2023. If no

                                 - 2 -




    Case 1:23-cv-00077-CCE-LPA Document 46 Filed 03/01/23 Page 2 of 3
response is filed on or before March 8, 2023, the motion will be

decided as an uncontested motion.

     IT IS FURTHER ORDERED that the movant Intervenors shall

file an objection, if any, to the response date of March 24,

2023 as proposed by Plaintiff on or before Wednesday, March 8,

2023.

     This the 1st day of March, 2023.




                                 __________________________________
                                    United States District Judge




                                 - 3 -




    Case 1:23-cv-00077-CCE-LPA Document 46 Filed 03/01/23 Page 3 of 3
